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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   DON’T LOOK MEDIA, LLC, a Delaware
   Limited Liability Company,
                                                          CASE NO:
                  Plaintiff,
   vs.

   FLY VICTOR LIMITED, a company
   incorporated under the Laws of England and
   Wales, ALYSSUM GROUP LIMITED, a
   company incorporated under the Laws of England
   and Wales, ALYSSUM HOLDINGS LIMITED,
   a company incorporated under the Laws of
   England and Wales, CLIVE HENRY JACKSON,
   an individual, BERNARDUS VORSTER, an
   individual, DAN NORTHOVER, an individual,
   and     JOHN       DOE(S),     an    unknown
   person(s)/corporation(s),

                  Defendants.________________

                                           COMPLAINT

         COMES NOW, Plaintiff, DON’T LOOK MEDIA, LLC, a Delaware Limited Liability

  Corporation (“Plaintiff” or “DLM”), by and through undersigned counsel, and hereby sues

  Defendants, FLY VICTOR LIMITED, a company incorporated under the Laws of England and

  Wales (“Fly Victor”), ALYSSUM GROUP LIMITED, a company incorporated under the Laws

  of England and Wales (“Alyssum”), ALYSSUM HOLDINGS LIMITED, a company

  incorporated under the Laws of England and Wales (“Alyssum Holdings”), CLIVE HENRY

  JACKSON an individual (“Jackson”), BERNARDUS VORSTER, an individual (“Vorster”),

  DAN NORTHOVER, an individual (“Northover”), and JOHN DOE(S), an unknown

  person(s)/corporation(s), and alleges as follows:




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                             PARTIES, JURISDICTION, AND VENUE

     1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C § 1331

  and § 1332. This Court also has supplemental jurisdiction over the state law claims pursuant

  to 28 U.S.C. § 1367.

     2. Plaintiff DLM is a Delaware Limited Liability Corporation whose principle place of

  business is in Broward County, Florida and is otherwise sui juris.

     3. Defendant Fly Victor is a Company incorporated and existing under the laws of

  England and Wales and regularly conducts business in the United States as well in the Southern

  District of Florida and is otherwise sui juris. This Defendant is also subject to personal

  jurisdiction pursuant to Fla. Stat. § 48.193 as it is alleged herein that Defendant engages in

  substantial and not isolated activities within the State of Florida and otherwise has sufficient

  contacts within this jurisdiction upon which to support personal jurisdiction, and because

  subjecting it to personal jurisdiction in the Southern District of Florida does not otherwise

  offend traditional notions of fair play and substantial justice.

     4. Defendant Alyssum is a Company incorporated and existing under the laws of England

  and Wales and regularly conducts business in the United States as well as in the Southern

  District of Florida and is otherwise sui juris. This Defendant is also subject to personal

  jurisdiction pursuant to Fla. Stat. § 48.193 as it is alleged herein that Defendant engages in

  substantial and not isolated activities within the State of Florida and otherwise has sufficient

  contacts within this jurisdiction upon which to support personal jurisdiction, and because

  subjecting it to personal jurisdiction in the Southern District of Florida does not otherwise

  offend traditional notions of fair play and substantial justice.




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     5. Defendant Alyssum Holdings is a Company incorporated and existing under the laws of

  England and Wales and regularly conducts business in the United States as well as in the Southern

  District of Florida and is otherwise sui juris. This Defendant is also subject to personal jurisdiction

  pursuant to Fla. Stat. § 48.193 as it is alleged herein that Defendant engages in substantial and not

  isolated activities within the State of Florida and otherwise has sufficient contacts within this

  jurisdiction upon which to support personal jurisdiction, and because subjecting it to personal

  jurisdiction in the Southern District of Florida does not otherwise offend traditional notions of fair

  play and substantial justice.

     6. Defendant Jackson, upon information and belief, is an individual residing in England and

  who is subject to personal jurisdiction in the Southern District of Florida and in this Court pursuant

  to Florida Statutes § 48.193 in that he conducts substantial and not isolated business within this

  jurisdiction and otherwise has sufficient contacts upon which to support personal jurisdiction, and

  because subjecting him to personal jurisdiction in the Southern District of Florida does not

  otherwise offend traditional notions of fair play and substantial justice. This Defendant is also

  subject to personal jurisdiction pursuant to Fla. Stat. § 48.193 as it is alleged herein that Defendant

  committed a tort within the State of Florida.

     7. Defendant Vorster, upon information and belief, is an individual residing in England and

  who is subject to personal jurisdiction in the Southern District of Florida and in this Court pursuant

  to Florida Statutes § 48.193 in that he conducts substantial and not isolated business within this

  jurisdiction and otherwise has sufficient contacts upon which to support personal jurisdiction, and

  because subjecting him to personal jurisdiction in the Southern District of Florida does not

  otherwise offend traditional notions of fair play and substantial justice. This Defendant is also




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  subject to personal jurisdiction pursuant to Fla. Stat. § 48.193 as it is alleged herein that

  Defendant committed a tort within the State of Florida.

      8. Defendant Northover, upon information and belief, is an individual residing in England

  and who is subject to personal jurisdiction in the Southern District of Florida and in this Court

  pursuant to Florida Statutes § 48.193 in that he conducts substantial and not isolated business

  within this jurisdiction and otherwise has sufficient contacts upon which to support personal

  jurisdiction, and because subjecting him to personal jurisdiction in the Southern District of

  Florida does not otherwise offend traditional notions of fair play and substantial justice. This

  Defendant is also subject to personal jurisdiction pursuant to Fla. Stat. § 48.193 as it is alleged

  herein that Defendant committed a tort within the State of Florida.

      9. Defendant(s) John Doe(s) is/are unknown persons or entities who are within the

  jurisdiction of this Court who is/are, upon information and belief, responsible/liable/culpable

  to Plaintiff for damages relative to its claims herein.

      10. Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391 (b)(2)

  and (3) because a substantial part of the events or omissions giving rise to the claims at issue

  in this Complaint arose in this District and Defendants are subject to the Court’s personal

  jurisdiction with respect to this action.

                 RESERVATION TO NAME ADDITIONAL DEFENDANTS

      11. In addition to the entities set forth as Defendants herein, there are likely other parties who

  may well be liable to Plaintiff but respecting whom Plaintiff currently lacks specific facts to permit

  Plaintiff to name such person or persons as a party-defendant(s). By not naming such persons or

  entities at this time, Plaintiff is not waiving his right to amend this pleading to add such parties,

  should the facts warrant adding such parties.



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                                   PRELIMINARY STATEMENT

      12. This case presents the intentional fraudulent scheme and criminal enterprise devised by

  Defendants Jackson, Vorster, Northover, and John Doe(s) to defraud Plaintiff out of tens of

  millions of dollars of revenue share remunerations and thereafter funneling illegally stolen profits

  in the form of nefarious transfers through an international corporate money laundering spiderweb

  which lined their personal pockets and avoided tax consequences. These Defendants’ theft of

  monies owed to Plaintiff also served their plan to deceive investors of Defendant Fly Victor

  regarding its success and health with inflated projections and “profits” designed to procure capital

  infusions which were, in part, used to directly and indirectly increase salaries and pay for lavish

  lifestyles.

      13. This case also involves the intentional and/or grossly reckless defacing and “conversion”

  of Plaintiff’s world class website domain landing page, PrivateJet.com (“PrivateJet”) through

  failure to comply with United States Department of Transportation (“USDOT”) and Federal

  Aviation Administration (“FAA”) regulations and thereby subjecting Defendant Fly Victor and

  PrivateJet to the potential of millions of dollars in fines for unfair and deceptive practices – all in

  a calculated effort to eliminate PrivateJet as one of Fly Victor’s leading competitors in the online

  private air charter industry.

      14. In February 2019, through an attempt to seek resolution of the damage done to PrivateJet,

  Plaintiff notified Defendant Fly Victor and Defendant Jackson regarding the USDOT and FAA

  violations. Without consulting Plaintiff or the USDOT or FAA, and in an implicit admission of

  guilt, on or about March 23, 2019, Defendant Fly Victor attempted to quietly conceal its

  wrongdoing by modifying certain disclosures on its own website. However, Defendant Fly




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  Victor’s actions seemingly further violated USDOT and FAA regulations and resulted in

  further damage to it and to Plaintiff.

     15. Plaintiff herein seeks redress and compensation for actual, compensatory, treble and

  punitive damages in excess of $30,000,000.00.

                                    GENERAL ALLEGATIONS

     16. Defendant Fly Victor is a private jet and air charter broker that engages in website

  development to procure prospective private jet clients to charter private jets through both their

  online website and mobile applications. Its primary services include content search

  optimization, supplying prospective consumers with an automated private jet booking

  platform, hosting and web support of the private jet service landing page and website, and the

  redirection of the website landing pages to Defendant Fly Victor’s owned and managed website

  landing page, FlyVictor.com.

     17. In January 2010, Defendant Fly Victor was founded by Defendant Jackson. Defendant

  Jackson was one of Fly Victor’s initial angel investors and was, at all times material hereto, its

  Chief Executive Officer and one of its Directors.

     18. Shortly after Defendant Fly Victor’s inception, in October 2010, Defendant Vorster

  was appointed as its Accountant and Principal Director.

     19. In June 2014, after having years-long business relationships with Defendants Jackson

  and Vorster, Defendant Northover was named Defendant Fly Victor’s Chief Marketing

  Officer.

     20. In 2014, Defendant Jackson publicly announced his desire to acquire internet domain

  assets in order to build Fly Victor’s online presence. One of these assets was PrivateJet, which,

  as of 2014 was owned by Plaintiff DLM.



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     21. In July 2015, Defendants Jackson, Vorster and Northover engaged in communications with

  Plaintiff DLM relative to the prospect of PrivateJet moving from its current contractual

  relationship, a United States operation, to Fly Victor’s platform. More specifically, at the time of

  the initial discussions, PrivateJet was being licensed to one of Fly Victor’s largest competitors –

  Jetsmarter.com (“Jetsmarter”).

     22. In July 2015, Plaintiff DLM owned and managed PrivateJet which had been in the global

  internet market place creating revenue-generating initiatives for several start-ups in the private jet

  charter industry making it a turn-key fit for Defendant Jackson’s vision for building Fly Victor’s

  online presence.

     23. On July 1, 2015, Plaintiff and Defendant Fly Victor entered into that certain “Revenue

  Sharing Agreement” (“RSA”) wherein the parties agreed that Plaintiff would provide Defendant

  Fly Victor the exclusive license and rights to design, manage, build and operate PrivateJet for the

  purpose of creating a second business vertical to channel private jet charter customers. In

  exchange, inter alia, Defendant Fly Victor would design and build PrivateJet by continuously

  adding content and search engine optimization on both a newly – developed landing page and

  website, which would include a state-of-the-art booking platform for PrivateJet to aggregate

  private jet charters in an automated fashion, and to offer clients exclusive “Empty Leg” or one-

  way discounted private jet offerings. All these obligations were to be instituted in accordance with

  “good” industry practices and subject to the regulations by the FAA and the USDOT.

     24. As an obligation to generate revenue under the RSA and in accordance with normal

  business practices, Defendant Fly Victor agreed that it would spend at least Two Thousand Five

  Hundred Dollars and No/100 ($2,500.00) per month on Google Pay-Per-Click advertising starting

  on month four (4) (i.e. November 1, 2015) to ensure the profitability of PrivateJet. Defendant Fly



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  Victor also agreed that under its responsibilities as an exclusive licensee of PrivateJet and as a

  digital website developer, it would share the gross profit of each booking received from the license

  for use of PrivateJet with Plaintiff.

       25. Additionally, as condition of the exclusive license to build, design, optimize, promote,

  operate, and maintain Plaintiff’s landing page and website, Defendant Fly Victor also agreed

  that it would maintain PrivateJet in accordance with “Good Industry Practice”, which by

  Defendant Fly Victor’s own definition meant that it would exercise levels of skill, care and

  diligence, prudence and foresight as can be reasonably expected from a skilled and experienced

  person engaged in the same or similar type of undertaking under the same or similar

  circumstances as Defendant Fly Victor.

       26. Unbeknownst to Plaintiff, Defendants Jackson, Vorster, Northover and John Doe(s),

  collaborated prior to and during the drafting of the RSA for purposes of defrauding Plaintiff as

  these Defendants had no intention of Fly Victor honoring any of its obligations under the RSA.

       27. Moreover, the RSA was drafted by Fly Victor and finalized with unnegotiated

  provisions, including, but not limited to, choice of venue and choice of law clauses, with the

  underlying intent to defraud Plaintiff. Defendants Fly Victor, Jackson, Vorster, Northover and

  John Doe(s) intentionally added the choice of law and venue clauses to make it difficult or

  impossible for Plaintiff to enforce its rights once the fraud was discovered – if ever. Indeed,

  the RSA itself was the fraudulent inducement for Plaintiff to license PrivateJet to Defendant

  Fly Victor and the same is part of the scheme and enterprise forming Plaintiff’s claims in Count

  I.




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      28. Moreover, the venue provision of the RSA, on its face, permits Defendant Fly Victor to

  choose any venue, including Florida courts, to enforce its rights under the contract, but is silent as

  to Plaintiff’s reciprocal right.

      29. The fraudulent misrepresentations during contract formation, specifically related to

  promises to perform, were relied upon by Plaintiff in its execution of the RSA. As such, the RSA

  design regarding choice of venue and choice of law provisions themselves provide further evidence

  of the scope of these Defendants’ wrongdoing as the RSA’s architects intended to weaponize the

  choice of venue and choice of law provisions as a shield to protect their fraudulent scheme and

  enterprise.

      30. Upon information and belief, PrivateJet created multi-million-dollar revenues which

  continue to benefit Defendant Fly Victor, and Plaintiff has not received one dollar in remunerations

  from these revenues as required by the RSA.

      31. In December 2017, Defendants Alyssum and Alyssum Holdings were formed as Defendant

  Fly Victor’s parent corporations as insulation and diversion schemes to conceal and hide

  Defendant Fly Victor’s revenues. On the surface, these two Defendants were formed to host and

  initiate private air charter relationships and connections – yet more nefariously to defraud Plaintiff

  and others.

      32. All conditions precedent to the filing of the claims herein have either occurred, been

  satisfied or been waived.

      33. Due to the conduct of Defendants, Plaintiff has retained undersigned counsel to prosecute

  this action and has agreed to pay reasonable attorneys’ fees and costs.




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      34. JURY DEMAND: Plaintiff demands that all issues in this case be tried by a jury in

   accordance with the Seventh Amendment to the United States Constitution and Rule 38(b) of the

   Federal Rules of Civil Procedure.

                                       COUNT I
             VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
                 ORGANIZATIONS ACT (“CIVIL RICO”) PURSUANT TO
                      18 U.S.C. § 1962(c) AND 18 U.S.C. § 1962(d)

      35. Plaintiff realleges Paragraph Numbers 1 through 34 above as if fully set forth herein.

      36. This is an action for damages pursuant to 18 U.S.C. § 1962(c) and 18 U.S.C. § 1962(d)

   “Civil Racketeering” against Defendants Jackson, Vorster, Northover, and John Doe(s)

   (“RICO Defendants”).

      37. RICO Defendants are all “persons” under 18 U.S.C. § 1961(3).

      38. RICO Defendants violated 18 U.S.C. § 1962(c) by participating in or conducting affairs

   of a RICO enterprise through a pattern of racketeering activity.

      39. RICO Defendants violated 18 U.S.C. § 1962(d) by conspiring to participate in or

   conduct affairs of a RICO enterprise through a pattern of racketeering activity.

      40. RICO Defendants have constituted an “enterprise” as the term is defined in 18 U.S.C.

   § 1961(4), that is, a group of business entities and individuals associated in fact, which is

   engaged in, and the activities of which affected, interstate commerce and foreign commerce.

   Each Defendant participates in the operation and management of the enterprise.

      41. The criminal enterprise of this case involves numerous acts of theft, manipulation,

   deceit and the destruction of Plaintiff and Plaintiff’s property. Among the components of this

   enterprise are: (1) the theft of revenues received by Defendant Fly Victor generated through

   leads procured by PrivateJet; (2) the manipulation of corporate financial statements to lure

   unsuspecting investors and potential investors for purposes of acquiring capital infusions; (3)

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   illegally laundering Plaintiff’s unpaid remunerations and investor capital infusions through a

   complex international corporate spiderweb designed to line the pockets of the RICO

   Defendants and their various corporate entities without detection; and (4) a plan to destroy

   PrivateJet’s brand and value by purposely violating USDOT and FAA regulations during

   Defendant Fly Victor’s tenure as a licensee of PrivateJet.

       42. The RICO Defendants are professional money launderers who purposely conceived,

   developed, and prosecuted a scheme to defraud Plaintiff out of tens of millions of dollars of

   revenue remunerations.

       43. Defendants John Doe(s) is/are individual(s) and/or entity/ies who have intimate knowledge

   of the inner workings of Defendants Fly Victor, Alyssum, and Alyssum Holdings such as current

   or former officers, directors, executives, investors, affiliates, beneficiaries, and employees.

       44. In 2015, Plaintiff and Defendant Jackson began negotiations for the exclusive license of

   the internet domain named PrivateJet owned by Plaintiff. On July 1, 2015, Plaintiff and Defendant

   Fly Victor entered into that certain RSA whereby Plaintiff agreed to exclusively license PrivateJet

   to Defendant Fly Victor.

       45. Under the terms of the RSA, Defendant Fly Victor agreed to design, manage, build and

   operate PrivateJet. In exchange for this exclusive license, Defendant Fly Victor would share Gross

   Profits with Plaintiff for the term of three (3) years.

       46. Notwithstanding the clear and unambiguous terms of the RSA, Defendant Fly Victor never

   shared a single profit from the substantial revenues generated by the thousands of leads procured

   by PrivateJet during the three-year tenure of the RSA.

       47. In this case, the RICO Defendants devised an elaborate scheme to acquire and ultimately

   destroy PrivateJet, beginning with making materially false statements to Plaintiff (over the



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   telephone and through email transmissions) before, during and after entering into the RSA.

   These knowingly false statements included that: (1) Defendant Fly Victor would pay Plaintiff

   revenue shares for all leads generated by PrivateJet; (2) Defendant Fly Victor was actively

   working on its contractual obligations subsequent to the entry of the RSA; and (3) stating to

   Plaintiff that Defendant Fly Victor never received one single lead from PrivateJet in three

   years.

      48. On or about November 20, 2015, after Plaintiff emailed Defendant Northover for

   several months asking about progress of PrivateJet, Defendant Northover advised Plaintiff that

   advertising and organic leads to drive potential private air charters to PrivateJet had

   commenced and were increasing daily. At that time, Defendant Northover admitted to Plaintiff

   that the paid search campaigns i.e. “Google Pay-Per-Click” had not yet commenced - even

   though the RSA clearly stated that this obligation should have commenced on month four (4),

   to wit: November 1, 2015.

      49. On November 20, 2015, Defendant Northover stated to Plaintiff that PrivateJet’s

   website development and marketing had started generating “small numbers” of organic traffic.

   Defendant Northover also stated that United States leads on PrivateJet were increasing daily

   and “big gains” would be made once the paid search campaigns were in place. See Expert

   Opinion Letters relative to search engine optimization and website development attached

   hereto marked Composite Exhibit “A”. However, Defendant Fly Victor never paid for any

   Google ad campaign in violation of the RSA, thus, any statements made by Defendant

   Northover relative to the same were empty falsehoods designed to keep Plaintiff from

   discovering the RICO Defendants’ fraudulent scheme.




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      50. Notably, organic leads, in particular, and Pay-Per-Click advertising is considered to be the

   “Rodeo Drive” of revenue generating online traffic. See Article by author Doug Gollan attached

   hereto marked Exhibit “B”; See also Expert Opinion Letters attached hereto marked Composite

   Exhibit “A”.

      51. As such, pursuant to the RICO Defendants’ illegal enterprise and scheme, Plaintiff never

   knew, or could have discovered, that it was being shorted millions of dollars of remunerations.

   Indeed, the breadth and scope of Plaintiff’s loss remains undetermined except evidence exists that

   “thousands” of organic leads were procured by PrivateJet from 2015 to 2018.

      52. What is clear is that the RICO Defendants’ plan included terminating the RSA – in July

   2018 – even though Defendant Northover had promised Plaintiff that the business relationship was

   full steam until the very end.

      53. On July 25, 2018, Plaintiff’s principle contacted and spoke with Defendant Northover, inter

   alia, over concerns that Plaintiff had not been paid for any lead generations for three years and that

   Plaintiff believed Defendant Fly Victor was in material breach of the RSA. In response, Defendant

   Northover stated – for the very first time – that “he had not been able to get management’s full

   backing for the project.” This statement is beyond believable as Defendant Northover was

   Defendant Fly Victor’s Chief Marketing Officer and he only reported to one individual –

   Defendant Jackson.

      54. On August 21, 2018, Defendant Alyssum’s lawyer Stephen Jones wrote Plaintiff a short

   email on behalf of Defendant Fly Victor which stated – falsely – that Plaintiff allegedly failed to

   complain about not getting paid during the term of the RSA and, thus, under the same – Plaintiff’s

   claims for breach of contract were non-existent. In other words, in just a few short paragraphs, the

   RICO Defendants, through their lawyer, sought to put the final nail in their criminal scheme by



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   telling Plaintiff to “just go away” – notwithstanding that they had stolen millions of dollars

   from Plaintiff over three (3) years.

      55. In fact, Plaintiff consistently reached out to Defendant Northover from July 2015

   through August 2018 regarding the status of payments and invoicing regarding monies owed.

   Plaintiff was met with excuse after excuse and promise after promise that it would be paid, and

   the reconciliations would be performed. The same never materialized.

      56. As stated hereinabove and hereinbelow, the RICO Defendants consistently “cooked the

   books” to steal remunerations belonging to Plaintiff and funneled them into their own

   “consulting” companies and individually as “consultants”.

      57. Prior to and during the tenure of the RSA, Defendant Fly Victor received substantial

   revenues through leads generated by PrivateJet. These monies were used by the RICO

   Defendants to “pump up” the health and value of Defendant Fly Victor in order to lure

   unsuspecting private equity investors to infuse various rounds of capital funding. The RICO

   Defendants’ enterprise and scheme also included the promotion of the alleged “professional

   accolades” of Defendants Fly Victor, Alyssum, and Alyssum Holdings, together with the RICO

   Defendants’ subsidiary companies, specifically, YoungJets LLC, Fly Victor USA, Inc., and

   Victor Technology, Inc., in order to cast a spell of legitimacy as to its business strength and

   investment allure. Moreover, none of the underpinnings of these Defendants’ money

   laundering activities were detectible through any normal means of due diligence.

      58. During 2016 through 2018, the RICO Defendants funneled money out of Defendant

   Fly Victor directly into a spiderweb of international corporate entities of which they are the

   exclusive directors and corporate officers. Many of these entities do no other business as

   reported in their annual corporate filings – some of which were prepared and filed by Millie



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   Jackson, a practicing Solicitor in England – the daughter of Defendant Jackson. In fact, some of

   these corporate entities are in “liquidation proceedings” in England.

      59. Specifically, Sudranreb Consultancy LTD (“Sudranreb”), a company controlled by

   Defendant Vorster, received £50,167.00 in 2017, £60,833.00 in 2016, and £48,333.00 in 2015 for

   consultant fees. Oddly enough, Sudranreb showed unaudited records that do not account for these

   “consultant fees” nor does Sudranreb appear to be a functioning entity. Sudranreb’s sole and major

   shareholder coincidentally is Defendant Vorster.

      60. In 2011, Alexis Sozonoff (“Sozonoff”) was appointed as a non-executive chairman and

   Director to Defendant Fly Victor. Infinet Technologies SARL (“Infinet”), a company controlled

   by Sozonoff, received £74,407.00 in 2017 and £3,343.00 in 2016 for consultant fees. Sozonoff

   also received a massive “consultant fee” in 2017 and, during the same year, he was appointed as a

   director at Defendant Alyssum. Sozonoff is also a Director at Autotorq Limited (“Autotorq”),

   another one of Defendant Jackson’s entities that Sozonoff has been affiliated with since 2003.

      61. Longhurst Corporate Ltd. (“Longhurst”), a company controlled by Defendant Jackson

   received £12,650.00 in 2017, £140,625.00 in 2016, and £172,500.00 in 2015 for consultant fees

   without further explanation. In 2018, Longhurst was voluntarily dissolved having only claimed

   assets of £773.00 in 2017 and £537.00 in 2016.

      62. Letyano Limited, while filed as a retail beverage company authorized to sell beverages in

   specialized stores as the nature of its business but appears to be an incentive driven application

   software company and who is controlled by Guy Winterflood, Defendant Fly Victor’s previous

   Director, received £70,000.00 in 2017, and £21,000.00 in 2016 for consultant fees.

      63. Autotorq, a company controlled by Defendant Jackson received £15,811.00 in 2017,

   £46,734.00 in 2016, and £63,397.00 in 2015 for staff and offices costs. However, according to



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   Autotorq financial statements ending in 2017, Autotorq paid Defendant Fly Victor

   £148,932.00. Autotorq also paid Defendant Fly Victor £63,397.00 in 2016 – the same amount

   of money that Defendant Fly Victor paid Autotorq for staff and office costs in 2015. These

   “staff and offices costs” were not reported as loans, but rather appear to cancel out for services

   rendered to either company both owned and operated by Defendant Jackson.

       64. All these consultant and service fees that were paid to the aforementioned companies

   have one common theme – the controlling parties are all directors, board members, angel

   investors, or executive officers and employees of Defendants Fly Victor, Alyssum, and

   Alyssum Holdings. The RICO Defendants, whom directly or indirectly received the monies

   funneled out of Defendant Fly Victor were the knowing beneficiaries of unpaid remunerations

   due to Plaintiff.

       65. Not only did the RICO Defendants funnel Plaintiff’s rightfully – owed remunerations

   into consultation fees to pad their own pockets and purposely avoid taxes, the RICO

   Defendants, upon information and belief, also funneled monies into purchases of competing

   organizations, re-capitalization of their own existing corporations, and “cooked the books” of

   Defendant Fly Victor so that investors would re-invest and potential new investors would fund

   Fly Victor’s ongoing dominations of the private jet charter market.

       66. In 2016, Defendant Fly Victor purchased its competition, YoungJets, and it also created

   and funded subsidiary companies, namely, Chartermatch Limited (“Chartermatch”), Fly Victor

   USA, Inc., and Victor Technology, Inc., all shell companies established merely disguised as

   alter-egos to funnel and hide revenues generated in large part by PrivateJet’s web presence and

   established name.




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      67. As part of the ongoing enterprise, the RICO Defendants defrauded Plaintiff and conspired

   to deceive investors for personal financial benefit. As such, these Defendants were associated with

   an illegal enterprise, and conducted and participated in that enterprise’s affairs through a pattern

   of racketeering activity consisting of numerous and repeated uses of interstate mail and wire

   facilities to execute a scheme of fraud and in violation of 18 U.S.C. §§ 1341 and 1343 and

   international money laundering and tax evasion laws.

      68. To carry out, or attempt to carry out the scheme to defraud, the Defendants have

   conducted or participated in the conduct of the affairs of the RICO Enterprise through the

   following pattern of racketeering activity that employed the use of the mail and wire facilities, in

   violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud):

              a. The RICO Defendants devised and furthered the scheme to defraud Plaintiff by use

                  of the mail, telephone, and internet, and transmitted, or caused to be transmitted, by

                  means of mail and wire communication travelling in interstate or foreign

                  commerce, writing(s) and/or signal(s), including the RICO Defendants’ websites,

                  communications with Plaintiff, statements to the press, and communications with

                  other members of the RICO Enterprise, as well as advertisements and other

                  communications to Defendant Fly Victor’s consumers; and

              b. The RICO Defendants utilized the interstate and international mail and wires for

                  the purpose of obtaining money or property by means of the omissions, false

                  pretense, and misrepresentations described herein.

      69. The RICO Defendants profited handsomely from the enterprise and Plaintiff suffered

   because the enterprise defrauded it of the revenue share remunerations and demolished PrivateJet

   from any future use by Plaintiff or Defendant Fly Victor’s competitors or potential competitors.



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      70. At all relevant times, the RICO Defendants were associated-in-fact for the common

   purpose of engaging in their profit-making scheme. These members of the RICO enterprise all

   share a common purpose: to enrich themselves at the expense of Plaintiff and unsuspecting

   investors. The RICO Defendants share the bounty of their criminal enterprise – by sharing the

   financial gain from their fraudulently – obtained assets and by defrauding investors.

      71. Each participant in the RICO Enterprise had systematic linkage to each other through

   corporate ties, contractual relationships, employment, financial ties and continuing

   coordination of activities. The RICO Enterprise and the RICO Defendants functioned as a

   continuing unit with the purpose of furthering the illegal scheme and their common purpose of

   increasing Defendant Fly Victor’s website presence and net worth for their own financial gain.

      72. The RICO Defendants participated in the operation and management of the RICO

   Enterprise by directing its affairs as described herein.

      73. While the RICO Defendants participated in, and are members of, the enterprise, they

   have a separate existence from the enterprise, including distinct legal statuses, different offices

   and roles, bank accounts, officers, directors, employees, reporting requirements and financial

   statements.

      74. The RICO Enterprise has existed for more than two (2) years and continues to exist and

   operate.

      75. The RICO Defendants conducted and participated in the affairs of the RICO Enterprise

   through a pattern of racketeering activity that consisted of repeated violations of the federal

   mail and wire fraud statutes and violations of federal and international money laundering and

   tax evasion laws.




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      76. Furthermore, the RICO Defendants continue to engage in these predicate acts to harm

   Plaintiff and the general public on a daily basis, which establishes a threat of long-term

   racketeering activity and evidences the continuity of the RICO Defendants’ open-ended pattern

   of racketeering activity.

      77. The RICO Defendants had the specific intent to participate in the overall RICO Enterprise,

   which is evidenced by the scheme to defraud Plaintiff, Defendant Fly Victor’s unsuspecting

   investors and potential investors, and the general public. This scheme was reasonably calculated

   to deceive Plaintiff, unsuspecting investors, and potential investors for the financial windfall of

   Defendants.

      78. The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and 18 U.S.C. § 1962(d) have

   directly and proximately caused injuries and damages to Plaintiff, and Plaintiff is entitled to bring

   this action for three times its actual damages, as well as injunctive and equitable relief and costs

   and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

      79. Pursuant to the RICO Defendants’ conduct, Plaintiff has been damaged.

    WHEREFORE, Plaintiff demands judgment as to Count I against the RICO Defendants for

   compensatory and treble damages together with interest, attorneys’ fees and costs for instituting

   and prosecuting the instant action and for such further relief as this Court deems just and proper.

                                             COUNT II
                                            CONVERSION

      80. Plaintiff realleges Paragraph Numbers 1 through 34 above as if fully set forth herein.

      81. At all times material hereto, the asset known as “PrivateJet.com” was and remains the

   property of Plaintiff DLM.

      82. At all times material hereto, Defendants Fly Victor, Alyssum and Alyssum Holdings

   (“Conversion Defendants”) intentionally and substantially interfered with PrivateJet by failing to

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   comply with USDOT and FAA regulations, to wit: 49 U.S.C. § 41712, Unfair and Deceptive

   Practices and Unfair Methods of Competition and 14 C.F.R. § 399.80 Unfair and Deceptive

   Practices of Ticket Agents and Part 135 of the Federal Aviation Administration.

      83. Specifically, PrivateJet was substantially and irreparably damaged by the Conversion

   Defendants because these Defendants’ design, maintenance and development of PrivateJet

   violated the above referenced USDOT and FAA Regulations as the same did not clearly

   disclose and/or convey that PrivateJet was not a direct air carrier and that the air services

   advertised would be provided by a licensed carrier. Additionally, Defendants’ conduct resulted

   in possible violations for failure to disclose that the aircrafts to which Defendants had access

   to were owned and operated by third parties. See Expert Opinion Letter from Zuckert, Scoutt

   & Rasenberger, L.L.P. attached hereto marked as Exhibit “C”.

      84. Additionally, in or about February 2019, in an amicable attempt to resolve all issues

   herein, Plaintiff through undersigned counsel, advised Defendants Fly Victor, Alyssum, and

   Alyssum Holdings about the potential USDOT and FAA regulation violations on their website.

   Again, Defendants Fly Victor, Alyssum, and Alyssum Holdings “blew off” Plaintiff’s

   continuing concerns.

      85. Notwithstanding Plaintiff’s attempts to resolve the underlying aforementioned USDOT

   and FAA regulation compliance issues, Defendants Fly Victor, Alyssum, and Alyssum

   Holdings made a shoddy attempt to remediate its own website – however, only further

   damaging its website and Plaintiff.

      86. As a direct and proximate result of the Conversion Defendants’ intentional and

   substantial interference and irreparable damage to PrivateJet by non-compliance with the




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   USDOT and FAA’s regulations as stated above, a civil penalty of more than $32,000.00 per

   violation, per day may continue to accrue on PrivateJet.

      87. At all times material hereto, Plaintiff did not have knowledge of, nor consented to, the

   omissions of any required regulatory language on or regarding PrivateJet in any manner.

      88. Defendant Alyssum, as the parent company and principal responsible for the acts of

   Defendant Fly Victor, its subsidiary, is vicariously liable to Plaintiff for the harm caused to

   Plaintiff as the result of Defendant Fly Victor’s conversion of PrivateJet.

      89. Alternatively, Defendant Alyssum is directly liable to Plaintiff for harm caused to Plaintiff

   as a result of the conversion of Plaintiff’s Asset committed by Defendant Fly Victor as an apparent

   or ostensible agent of Defendant Alyssum.

      90. Defendant Alyssum Holdings, as the parent company and principal responsible for the acts

   of Defendant Alyssum, its subsidiary, is vicariously liable to Plaintiff for the harm caused to

   Plaintiff as the result of Defendant Fly Victor’s conversion of PrivateJet.

      91. Alternatively, Defendant Alyssum Holdings is directly liable to Plaintiff for harm caused

   to Plaintiff as a result of the conversion of Plaintiff’s Asset committed by Defendant Fly Victor as

   an apparent or ostensible agent of Defendant Alyssum Holdings.

      92. As a direct and proximate result of Conversion Defendants’ intentional or reckless conduct

   described hereinabove, Plaintiff has suffered damages in an amount to be proven at trial, including

   an award of punitive damages.

      93. Additionally, Plaintiff’s damages are ongoing and increasing due to the Conversion

   Defendants failure to comply with the requirements of the USDOT regulations, 49 U.S.C. § 41712,

   Unfair and Deceptive Practices and Unfair Methods of Competition, and 14 C.F.R. § 399.80,




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   Unfair and Deceptive Practices of Ticket Agents and Part 135 of the Federal Aviation

   Administration.

       94. Plaintiff asserts a claim for punitive damages due to the Conversion Defendants’

   intentional and malicious and deceitful conduct alleged herein.

       WHEREFORE, Plaintiff demands judgment as to Count II against the Conversion

   Defendants for compensatory and punitive damages, together with interest, attorneys’ fees and

   costs for instituting and prosecuting the instant action and for such further relief as this

   Honorable Court deems just and proper.

                                          COUNT III
                                    FRAUDULENT TRANSFERS

       95. Plaintiff realleges Paragraph Numbers 1 through 34 as if fully set forth herein.

       96. This is an action for equitable and other relief pursuant to the Uniform Fraudulent

   Transfer Act, Florida Statute §726.101 et. seq. and Florida Statute §56.29.

       97. Upon information and belief, Defendants Jackson, Vorster, Northover, Fly Victor,

   Alyssum and Alyssum Holdings (“Transfer Defendants”) have engaged in fraudulent acts in

   furtherance of a fraudulent scheme to transfer Plaintiff’s unpaid remunerations out of the reach

   of Plaintiff.

       98. On July 1, 2015, Plaintiff and Defendant Fly Victor entered into that certain RSA

   whereby Plaintiff agreed to exclusively license – and Defendant Fly Victor agreed to design,

   manage, build, and maintain – PrivateJet.

       99. Despite the contractual obligations of the RSA, Plaintiff never received one dollar of

   revenue remunerations.

      100. Instead, upon information and belief, the Transferor Defendants, transferred Plaintiff’s

   unpaid remunerations and capital investments from unsuspecting investors and potential

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   investors to these Defendants personally and to Defendants’ owned and operated entities, to wit:

   Transfer Defendants Jackson, Vorster, Northover, Fly Victor, Alyssum, Alyssum Holdings and

   the Transfer Defendants’ other entities and/or directors, Autotorq, YoungJets, Fly Victor USA,

   Victor Technology, Chartermatch, Infinet, Sudranreb, Letyano, Mike Ryan, Adrian Kee, Richard

   Mark Batchelor, Nick Earle, Amin Hemani, Nathan Akira Kirton, Elio Lenoi-Sceti, George Ortiz,

   Andrew Julian Pisker, Guy Winterflood, Joe Cohen, and David Young all received shares,

   dividends, consulting fees, marketing fees, business capital injections, or profits from the illicit

   transfer of funds by the Transfer Defendants.

      101. All of these transfers were made by the Transfer Defendants while each entity or individual

   was either failing, insolvent or otherwise upside down because the liabilities incurred by those

   ventures and/or individuals far exceeded their assets and/or abilities to pay.

      102. These illicit and fraudulent transfers made by the Transfer Defendants to the Transfer

   Defendants and their other entities and/or directors were made without adequate compensation or

   justification.

      103. The transfers were made by systematic and continuous revenue sharing or fraudulent

   transfer between individual Defendants and their owned and operated business endeavors with the

   actual intent to hinder, delay or defraud creditors such as Plaintiff and/or to evade tax

   consequences. The same constitutes a fraudulent transfer in violation of Florida Statue

   §726.105(1)(a). Further, the Transfer Defendants did not receive reasonably equivalent value for

   the transfers and intended to incur – or believed or reasonably should have believed that they would

   incur – debts beyond their ability to pay as they become due, and thus the transfer at issue is in

   violation of §726.105(1)(b). Plaintiff is thus, entitled to relief under §726.108.




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      104. Plaintiff lacks an adequate remedy at law because, unless the relief sought in this count

   is granted, the Transferor Defendants will have succeeded in fraudulently transferring assets

   beyond the reach of Plaintiff.

      WHEREFORE, Plaintiff demands judgment as to Count III for fraudulent transfer and

   requests that this Court grant the following relief: (1) an appointment of a receiver to take charge

   of Defendants’ assets; (2) an injunction against further disposition or assignment of

   remunerations; (3) a Judgment decreeing that the fraudulent transfers are void and directing the

   appropriate authority to take the transferred remunerations to satisfy execution; (4) an award of

   Plaintiff’s attorneys’ fees and costs for having to file and prosecute this action and; (5) for such

   further relief as this Court deems just and proper.

                                        COUNT IV
                              FRAUDULENT MISREPRESENTATION

      105. Plaintiff incorporates and realleges Paragraph Numbers 1 through 34 above as if fully

   set forth herein.

      106. Defendants     Fly    Victor,    Jackson,      Northover,   and    Vorster    (“Fraudulent

   Misrepresentation Defendants”) willfully and intentionally made material misrepresentations

   to Plaintiff before, during and after the termination of the RSA.

      107. More specifically, the Fraudulent Misrepresentation Defendants willfully and

   intentionally misrepresented to Plaintiff that it would supply booking platforms, host and

   support the landing page and website, service all bookings generated through PrivateJet in

   accordance with “Good Industry Practices” as cited in Section 1: Definitions of the RSA.

      108. Additionally, the Fraudulent Misrepresentation Defendants willfully and intentionally

   misrepresented to Plaintiff that it would redirect the domain PrivateJet to Defendant Fly

   Victor’s managed destination landing page.

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      109. Moreover, the Fraudulent Misrepresentation Defendants willfully and intentionally

   misrepresented to Plaintiff that it would spend up to $2,500.00 per month for Google Pay-Per-

   Click advertisements for months 4 through 36 of the parties’ agreement.

      110. Further, the Fraudulent Misrepresentation Defendants willfully and intentionally

   misrepresented to Plaintiff that it would generate revenue share remuneration through Defendant

   Fly Victor’s gross profits of each booking from the PrivateJet landing page and website.

      111. Fraudulent Misrepresentation Defendants’ statements were made intending solely to

   defraud Plaintiff and prevent it from engaging in fruitful or productive competition with Defendant

   Fly Victor through various other competitor partnerships.

      112. The Fraudulent Misrepresentation Defendants made fraudulent misrepresentations and

   Plaintiff reasonably and justifiably relied on those fraudulent misrepresentations and licensed and

   contracted with Defendant Fly Victor in good faith to its detriment.

      113. The Fraudulent Misrepresentation Defendants’ unconscionable acts are fraudulent,

   deceitful and were committed intentionally to significantly and irreparably harm Plaintiff.

      114. Due to the Fraudulent Misrepresentation Defendants’ conduct, Plaintiff has been damaged.

      115. Plaintiff asserts a claim for punitive damages as due to the Fraudulent Misrepresentation

   Defendants’ intentional and malicious as alleged herein.

          WHEREFORE, Plaintiff demands Judgment as to Count IV against the Fraudulent

   Misrepresentation Defendants and seeks an award of compensatory and punitive damages,

   together with interest, attorneys’ fees and costs for instituting and prosecuting the instant action

   and for such further relief as this Court deems just and proper.




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                                              COUNT V
                                            NEGLIGENCE

      116. Plaintiff realleges Paragraph Numbers 1 through 34 above as if fully set forth herein.

      117. Defendants Fly Victor Alyssum, and Alyssum Holdings (“Negligence Defendants”) had

   a duty to exercise ordinary care to provide services with skill, care and diligence in accordance

   with good industry practices and to act as reasonably prudent business entities by designing and

   maintaining PrivateJet in accordance with USDOT and FAA regulations.

      118. Under this duty the Negligence Defendants were required to ensure their content and

   advertisements on PrivateJet were in compliance with the standards of air carrier service

   providers as regulated by the USDOT and FAA. Specifically, the Negligence Defendants had

   the obligation to include in its content any and all mandatory disclosures.

      119. The Negligence Defendants breached their duty to Plaintiff by failing to provide

   services with skill, care and diligence in accordance with good industry practices and failing to

   act as reasonably prudent business entities by failing to design and maintain PrivateJet in

   accordance with the USDOT and FAA regulations.

      120. The Negligence Defendants also breached their duty to Plaintiff by failing to include in

   its content any and all mandatory disclosures.

      121. The Negligence Defendants also breached their duty to Plaintiff by failing to perform

   the tasks necessary to ensure the website landing page would gain exposure to prospective

   clientele.

      122. Defendant Fly Victor also breached its duty to Plaintiff to act as a reasonably prudent

   website developer when it breached performance under the RSA by failing to launch the website

   in accordance with the terms therein.




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      123. Defendant Fly Victor also breached its duty to Plaintiff by failing to pay any gross profit

   to Plaintiff because it failed to spend up to $2,500.00 a month in Google Pay-Per-Click

   advertisements.

      124. Defendant Alyssum, as the parent company and principal responsible for the acts of

   Defendant Fly Victor, its subsidiary, is vicariously liable to Plaintiff for the harm caused to

   Plaintiff as the result of Defendant Fly Victor’s negligence of PrivateJet.

      125. Alternatively, Defendant Alyssum is directly liable to Plaintiff for harm caused to Plaintiff

   as a result of the negligence of Plaintiff’s Asset committed by Defendant Fly Victor as an apparent

   or ostensible agent of Defendant Alyssum.

      126. Defendant Alyssum Holdings, as the parent company and principal responsible for the acts

   of Defendant Alyssum, its subsidiary, is vicariously liable to Plaintiff for the harm caused to

   Plaintiff as the result of Defendant Fly Victor’s negligence of PrivateJet.

      127. Alternatively, Defendant Alyssum Holdings is directly liable to Plaintiff for harm caused

   to Plaintiff as a result of the negligence of Plaintiff’s Asset committed by Defendant Fly Victor as

   an apparent or ostensible agent of Defendant Alyssum Holdings

      128. As a direct and proximate result of the Negligence Defendants breaches of duties, Plaintiff

   has suffered substantial and irreparable harm and damages in an amount to be proven at trial.

      WHEREFORE, Plaintiff demands Judgment as to Count V against the Negligence Defendants

   and seeks an award of compensatory damages together with interest, attorneys’ fees and costs for

   instituting and prosecuting the instant action and for such further relief as this Court deems just

   and proper.




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                                      COUNT VI
                        BREACH OF FIDUCIARY DUTY – FLY VICTOR

      129. Plaintiff realleges Paragraph Numbers 1 through 34 above as if fully set forth herein.

      130. At all times relevant to this action, Defendant Fly Victor owed a fiduciary duty of care

   to Plaintiff.

      131. Defendant Fly Victor’s fiduciary duties include obligations to exercise good business

   judgment, to act prudently in the operation of its business, and to discharge their actions in good

   faith.

      132. Specifically, Defendant Fly Victor owed a fiduciary duty to Plaintiff to ensure

   compliance with USDOT and FAA regulations in its content and advertising on PrivateJet.

      133. Defendant Fly Victor breached its duty of care to Plaintiff by, among other things,

   failing to comply with the terms of the RSA and by failing to comply with the regulations of

   the USDOT and FAA regulations by failing to include mandatory disclosures while hosting,

   operating, and maintaining PrivateJet.

      134. Defendant Fly Victor further breached its duty of care to Plaintiff by, upon Plaintiff’s

   notice and advice about the USDOT and FAA regulations violations in or about February 2019,

   Defendants failed to substantially, accurately or correctly remediate their websites content and

   advertising to comply with the mandatory disclosures of the USDOT and FAA regulations.

      135. As a result, Plaintiff has suffered harm as a direct and proximate result of the

   aforementioned breach of duty by Defendant Fly Victor.

      WHEREFORE, Plaintiff demands Judgment as to Count VI Defendant Fly Victor and

   seeks compensatory damages together with interest, attorneys’ fees and costs for instituting and

   prosecuting the instant action and for such further relief as this Court deems just and proper.




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                                  COUNT VII
                TORTIOUS INTERFERENCE WITH BUSINESS ADVANTAGE

      136. Plaintiff incorporates and realleges Paragraphs 1 through 34 above as if fully set forth

   herein.

      137. Defendants Jackson, Vorster, Northover, Fly Victor, Alyssum, Alyssum Holdings

   (“Tortious Interference Defendants”) had knowledge of certain business advantages relative to

   Plaintiff’s ongoing and potential business relationships with website developers, private air charter

   brokers, advertisers and employees.

      138. The Tortious Interference Defendants wrongfully interfered with Plaintiff’s business

   relationships by making false misrepresentations to Plaintiff causing Plaintiff to enter into the

   RSA.

      139. The Tortious Interference Defendants intentionally interfered with Plaintiff’s business

   advantages and relationships through their conduct outlined herein.

      140. Pursuant to the Tortious Interference Defendants’ intentional/negligent conduct, Plaintiff

   has suffered actual damages.

      141. Plaintiff asserts that it is entitled to an award of punitive damages pursuant to the Tortious

   Interference Defendants’ intentional and malicious conduct designed to cause Plaintiff damages.

      WHEREFORE, Plaintiff demands Judgment as to Count VII against the Tortious Interference

   Defendants for compensatory and punitive damages together with interest, attorneys’ fees and

   costs for instituting and prosecuting the instant action and for such further relief as this Court

   deems just and proper.




                                       COUNT VIII
                            BREACH OF CONTRACT – FLY VICTOR

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      142. Plaintiff incorporates and realleges Paragraphs 1 through 34 above as if fully set forth

   herein.

      143. On July 1, 2015, Plaintiff and Defendant Fly Victor entered into that certain RSA

   whereby Plaintiff agreed to appoint Defendant Fly Victor as a provider of web-based booking

   services to Plaintiff and Plaintiff agreed to allow Defendant Fly Victor the use of his domain,

   PrivateJet, for the web-based booking services.

      144. Under the terms of the RSA, Defendant Fly Victor agreed to develop, design, redirect,

   and use PrivateJet for no less than thirty-six (36) months at a revenue share as laid out in

   Schedule 1 – Schedule of Services. In Schedule 2 – Price Schedule, of the agreement, all initial

   bookings of all jet charters booked through PrivatetJet, Defendant Fly Victor would receive

   60% of the fees and Plaintiff would receive 40%. Subsequent bookings would be split 90% to

   Defendant and 10% to Plaintiff. Defendant Fly Victor would also pay Plaintiff $2,500.00 for

   months 6-24 and $5,000.00 for months 25-36 in the event that the minimum revenue targets

   were not met. Defendant Fly Victor also had the responsibility to spend at least $2,500.00 per

   month on Google Pay-Per-Click advertising commencing on month four (4) of the agreement

   until the end of the Initial Term.

      145. Defendant Fly Victor breached the Agreement by failing to perform any of the duties in

   the RSA.

      146. Defendant Fly Victor also breached the RSA by failing to make ANY payments due to

   Plaintiff.

      147. Defendant Fly Victor also breached the RSA by failing to institute “Good Industry

   Practice” in that it failed to comply with DOT regulations, 49 U.S.C. § 41712, Unfair and

   Deceptive Practices and Unfair Methods of Competition and 14 C.F.R. § 399.80, Unfair and



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   Deceptive Practices of Ticket Agents. Specifically, Defendant Fly Victor failed to clearly disclose

   and/or convey that PrivateJet was not a direct air carrier and that the air services advertised would

   be provided by a licensed carrier.

      148. Additionally, Defendant Fly Victor breached its duty to institute “Good Industry Practice”

   because it failed, in their marketing and/or advertisements on PrivateJet, to disclose that the

   aircrafts to which Defendant Fly Victor had access to, were owned and operated by third parties.

      149. As a direct and proximate result of Defendant Fly Victor’s breaches of the RSA, Plaintiff

   has been damaged.

       WHEREFORE, Plaintiff demands judgment as to Count VIII against Defendant Fly Victor

   and seeks an award of compensatory damages, together with interest, attorneys’ fees and costs for

   instituting and prosecuting the instant action and for such further relief as this Court deems just

   and proper.

                                         COUNT IX
                              UNJUST ENRICHMENT- JOHN DOE(S)

      150. Plaintiff incorporates and realleges Paragraphs 1 through 22 above as if fully set forth

   herein.

      151. Plaintiff conferred, either directly or indirectly, benefits on Defendant John Doe(s) who

   were investors in Defendant Fly Victor.

      152. As investors in Defendants, Fly Victor, Alyssum and Alyssum Holdings, Defendant(s)

   John Doe(s) are/have members who collect revenues, shares, dividends, or stocks.

      153. Plaintiff conferred a benefit either directly or indirectly on Defendant(s) John Doe(s) by

   allowing Defendants Fly Victor, Alyssum and Alyssum Holdings the exclusive license and rights

   to PrivateJet.

      154. Defendant(s) John Doe(s) accepted and retained the conferred benefit.

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      155. Under the aforementioned circumstances it would be inequitable for Defendant(s) John

   Does(s) to retain the benefit without compensating Plaintiff for it.

      156. Defendant(s) John Doe(s) have been unjustly enriched at the expense of Plaintiff.

      157. Plaintiff is entitled to damages as a result of Defendant(s) John Doe(s)’ unjust

   enrichment, including the disgorgement of all monies accepted by Defendant(s) John Doe(s)

   from Plaintiff.

      WHEREFORE, Plaintiff demands judgment as to Count IX against Defendant(s) John

   Doe(s) and seeks for an award of compensatory damages, together with interest, attorneys’ fees

   and costs for instituting and prosecuting the instant action and for such further relief as this

   Court deems just and proper.

                                COUNT X – AIDING & ABETTING

      158. Plaintiff incorporates and realleges Paragraphs 1 through 34 above as if fully set forth

   herein.

      159. Defendants John Doe(s) is/are past/present directors, officers, shareholders, managers,

   executives and/or employees of Defendants Fly Victor, Alyssum and Alyssum Holdings, who

   manage, develop, and/or operate the daily transactions and inner-workings of Defendants Fly

   Victor, Alyssum and Alyssum Holdings by assisting, training, managing, and overseeing the

   marketing, financial transactions, investments, agreements, and operations of Defendants Fly

   Victor, Alyssum and Alyssum Holdings’ businesses and financial enterprises.

      160. Defendant John Doe(s), through their positions as acting directors, officers, shareholders

   managers, executives, employees and/or board members, rendered substantial assistance to

   Defendants Jackson, Vorster, Northover, Fly Victor, Alyssum, and Alyssum Holdings in their

   perpetration of conversion, fraudulent misrepresentation, and fraudulent transfers alleged herein.



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     161. But for Defendants John Doe(s) active or passive participation in conversion, fraudulent

   misrepresentation and fraudulent transfers, same would not have succeeded, and Plaintiff would

   not have been victimized by Defendants Jackson, Vorster, Northover, Fly Victor, Alyssum and

   Alyssum Holdings.

     162. In their respective positions, Defendants John Doe(s) failed to institute adequate policies

   and procedures to monitor and prevent the very type of fraud and scheme that occurred as alleged

   hereinabove.

     163. Upon information and belief, Defendant John Doe(s) had actual or constructive knowledge

   of the conversion, fraudulent misrepresentations and fraudulent transfers against Plaintiff as

   alleged herein and they all played active and/or passive vital roles in the success and

   maintenance/expansion of the fraudulent malfeasance.

     164. As a direct and proximate result of the foregoing, Defendant John Doe(s) are liable for

   damages caused to Plaintiff through Defendants Jackson, Vorster, Northover, Fly Victor, Alyssum

   and Alyssum Holdings’ fraudulent actions and omissions.

     WHEREFORE, Plaintiff demands entry of a judgment as to Count X against Defendant John

   Doe(s) for compensatory damages and costs and for such further relief as this Court deems just

   and proper.




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                                          JURY DEMAND

      Plaintiff demands that all issues in this case be tried by a jury in accordance with the Seventh

   Amendment to the United States Constitution and Rule 38(b) of the Federal Rules of Civil

   Procedure.

   Dated June 21, 2019.

                                                Respectfully submitted,

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